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                            IN THE UNITED STATES DISTRICT COURT
                                          FOR THE
                               NORTIIERN DISTRICT OF ILLINOIS

PNC Bank,

Plaintiff(s),

v.                                                   Case No. 13 cv 7271
                                                     Judge Robert M. Dow
Randall Road Joint Venture, et al,

Defendant(s).

                                            ORDER

ENTER ORDER: 1. The Second Report of the Receiver is approved including all fees and
expenses of Receiver as detailed in the Report; 2. The Receiver's Third Report shall cover the
period through May 31, 2014 and shall be filed by June 16, 2014; 3. The approval hearing for
the Third Report is set for 6/2412014 at 9:00a.m. 4. The lease termination agreement is hereby
approved.




Date:412912014




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Rev. 10/2013
